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 8                             UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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11    TRACI WOLBERT,                  )          CASE NO.: SACV16-00009 JLS (DFMx)
                                      )
12             Plaintiff,             )          [Assigned to the Hon. Josephine L. Staton,
                                      )          Courtroom 10A]
13        vs.                         )
                                      )          [PROPOSED] ORDER GRANTING
14    QUALITY SYSTEMS, INC. NEXTGEN )            MOTION TO TRANSFER VENUE
      HEALTHCARE INFORMATION          )
15    SYSTEMS, and DOES 1 through 10, )          [Filed concurrently with Notice of Motion
      INCLUSIVE,                      )          and Motion, Memorandum of Points and
16                                    )          Authorities in Support, and Declarations in
                                      )          Support]
17             Defendants.            )
                                      )          Date:           April 1, 2016
18                                    )          Time:           2:30 p.m.
                                      )          Courtroom:      10A
19                                    )
                                      )
20                                    )
                                      )          Complaint Filed: December 3, 2015
21                                    )          Trial Date:      None set
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      16-CV-00009 JLS (DFMx)                 1         [PROPOSED] ORDER GRANTING MOTION TO
                                                                           TRANSFER VENUE
     Case 8:16-cv-00009-DFM Document 20-3 Filed 02/24/16 Page 2 of 2 Page ID #:271




 1                                              [PROPOSED] ORDER
 2              Having reviewed the Motion to Transfer Venue of Defendants QUALITY
 3    SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATION SYSTEMS, LLC
 4    (collectively, “Defendants”), and all opposing and reply papers, as well as any argument
 5    of counsel, and good cause appearing therefore, IT IS HEREBY ORDERED THAT:
 6              1.           Defendants’ Motion to Transfer Venue is granted in its entirety;
 7              2.           The entire action shall be transferred to the Eastern District of Pennsylvania
 8    and all litigation, including any outstanding discovery deadlines, shall be stayed pending
 9    completion of the venue transfer.
10
11    IT IS SO ORDERED.
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14    Dated: ________________, 2016
                                                                    Josephine L. Staton
15                                                                  United States District Judge
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      4829-9821-9303, v. 1
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      16-CV-00009 JLS (DFMx)                                2        [PROPOSED] ORDER GRANTING MOTION TO
                                                                                         TRANSFER VENUE
